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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                             ORDER

       As discussed at the Status Conference held on January 17, 2025, the court orders the

following with regard to further proceedings in this matter:

       On or before January 21, 2025, at 12:00 PM, Perplexity and Google shall file a Joint

Status Report updating the court on the status of the discovery disputes raised in their January 14,

2025 Joint Status Report, ECF No. 1127.

       On or before January 24, 2025, the parties and News Corp shall file a Joint Status Report

identifying the News Corp witness on Plaintiffs’ witness list and updating the court on the status

of the discovery disputes raised in Google’s January 14, 2025 Status Report, ECF No. 1126.
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         For the reasons stated on the record at the January 17, 2025 Status Conference, the court

denies Google’s request that the court order Plaintiffs to designate a Rule 30(b)(6) witness to

testify as to (1) the language of Plaintiffs’ Proposed Final Judgment and (2) any third-party

involvement in crafting Plaintiffs’ Proposed Final Judgment. Google may instead serve up to 30

written interrogatories addressing these topics. Plaintiffs shall serve their answers and objections

within 14 days of being served. The court urges the parties to meet and confer on these topics as

well.

         For the reasons stated on the record at the January 17, 2025 Status Conference, the court

denies Plaintiffs’ request that the court order Google to produce the documents sought in

Plaintiffs’ Request No. 11.

         As to the agreements withheld in full by Microsoft, which were discussed at the December

20, 2024 Status Conference and reviewed by the court in camera, the court finds that they are not

relevant to the remedies at issue in this proceeding and therefore denies Google’s request that the

court order Microsoft to produce these agreements.




Dated: January 20, 2025                                      Amit P. Mehta
                                                       United States District Judge




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